Case 1:25-cv-21165-BB Document 9-2 Entered on FLSD Docket 03/18/2025 Page 1 of 9




                            Exhibit
                                      1
Case 1:25-cv-21165-BB Document 9-2 Entered on FLSD Docket 03/18/2025 Page 2 of 9



    14. CONVENTION ON THE SERVICE ABROAD OF JUDICIAL AND EXTRAJUDICIAL
    DOCUMENTS IN CIVIL OR COMMERCIAL MATTERS
                                       (Concluded 15 November 1965)
    The States signatory to the present Convention,
    Desiring to create appropriate means to ensure that judicial and extrajudicial documents to be
    served abroad shall be brought to the notice of the addressee in sufficient time,
    Desiring to improve the organisation of mutual judicial assistance for that purpose by simplifying
    and expediting the procedure,
    Have resolved to conclude a Convention to this effect and have agreed upon the following
    provisions:
                                                    Article 1
    The present Convention shall apply in all cases, in civil or commercial matters, where there is
    occasion to transmit a judicial or extrajudicial document for service abroad.
    This Convention shall not apply where the address of the person to be served with the document
    is not known.
                                       CHAPTER I – JUDICIAL DOCUMENTS
                                                    Article 2
    Each Contracting State shall designate a Central Authority which will undertake to receive
    requests for service coming from other Contracting States and to proceed in conformity with the
    provisions of Articles 3 to 6.
    Each State shall organise the Central Authority in conformity with its own law.
                                                    Article 3
    The authority or judicial officer competent under the law of the State in which the documents
    originate shall forward to the Central Authority of the State addressed a request conforming to the
    model annexed to the present Convention, without any requirement of legalisation or other
    equivalent formality.
    The document to be served or a copy thereof shall be annexed to the request. The request and
    the document shall both be furnished in duplicate.
                                                    Article 4
    If the Central Authority considers that the request does not comply with the provisions of the
    present Convention it shall promptly inform the applicant and specify its objections to the request.
                                                    Article 5
    The Central Authority of the State addressed shall itself serve the document or shall arrange to
    have it served by an appropriate agency, either –
    a) by a method prescribed by its internal law for the service of documents in domestic actions
    upon persons who are within its territory, or
    b) by a particular method requested by the applicant, unless such a method is incompatible with
    the law of the State addressed.
    Subject to sub-paragraph (b) of the first paragraph of this Article, the document may always be
    served by delivery to an addressee who accepts it voluntarily.
    If the document is to be served under the first paragraph above, the Central Authority may require
    the document to be written in, or translated into, the official language or one of the official
    languages of the State addressed.
    That part of the request, in the form attached to the present Convention, which contains a
    summary of the document to be served, shall be served with the document.
                                                    Article 6
    The Central Authority of the State addressed or any authority which it may have designated for
    that purpose, shall complete a certificate in the form of the model annexed to the present
    Convention.
    The certificate shall state that the document has been served and shall include the method, the
    place and the date of service and the person to whom the document was delivered. If the
    document has not been served, the certificate shall set out the reasons which have prevented
    service.
    The applicant may require that a certificate not completed by a Central Authority or by a judicial
    authority shall be countersigned by one of these authorities.
    The certificate shall be forwarded directly to the applicant.


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Case 1:25-cv-21165-BB Document 9-2 Entered on FLSD Docket 03/18/2025 Page 3 of 9



                                                    Article 7
    The standard terms in the model annexed to the present Convention shall in all cases be written
    either in French or in English. They may also be written in the official language, or in one of the
    official languages, of the State in which the documents originate.
    The corresponding blanks shall be completed either in the language of the State addressed or in
    French or in English.
                                                    Article 8
    Each Contracting State shall be free to effect service of judicial documents upon persons abroad,
    without application of any compulsion, directly through its diplomatic or consular agents.
    Any State may declare that it is opposed to such service within its territory, unless the document
    is to be served upon a national of the State in which the documents originate.
                                                    Article 9
    Each Contracting State shall be free, in addition, to use consular channels to forward documents,
    for the purpose of service, to those authorities of another Contracting State which are designated
    by the latter for this purpose.
    Each Contracting State may, if exceptional circumstances so require, use diplomatic channels for
    the same purpose.
                                                   Article 10
    Provided the State of destination does not object, the present Convention shall not interfere with
    –
    a) the freedom to send judicial documents, by postal channels, directly to persons abroad,
    b) the freedom of judicial officers, officials or other competent persons of the State of origin to
    effect service of judicial documents directly through the judicial officers, officials or other
    competent persons of the State of destination,
    c) the freedom of any person interested in a judicial proceeding to effect service of judicial
    documents directly through the judicial officers, officials or other competent persons of the State
    of destination.
                                                   Article 11
    The present Convention shall not prevent two or more Contracting States from agreeing to
    permit, for the purpose of service of judicial documents, channels of transmission other than
    those provided for in the preceding Articles and, in particular, direct communication between their
    respective authorities.
                                                   Article 12
    The service of judicial documents coming from a Contracting State shall not give rise to any
    payment or reimbursement of taxes or costs for the services rendered by the State addressed.
    The applicant shall pay or reimburse the costs occasioned by –-
    a) the employment of a judicial officer or of a person competent under the law of the State of
    destination,
    b) the use of a particular method of service.
                                                   Article 13
    Where a request for service complies with the terms of the present Convention, the State
    addressed may refuse to comply therewith only if it deems that compliance would infringe its
    sovereignty or security.
    It may not refuse to comply solely on the ground that, under its internal law, it claims exclusive
    jurisdiction over the subject-matter of the action or that its internal law would not permit the action
    upon which the application is based.
    The Central Authority shall, in case of refusal, promptly inform the applicant and state the reasons
    for the refusal.
                                                   Article 14
    Difficulties which may arise in connection with the transmission of judicial documents for service
    shall be settled through diplomatic channels.
                                                   Article 15
    Where a writ of summons or an equivalent document had to be transmitted abroad for the
    purpose of service, under the provisions of the present Convention, and the defendant has not
    appeared, judgment shall not be given until it is established that –




                                                                                                         3
Case 1:25-cv-21165-BB Document 9-2 Entered on FLSD Docket 03/18/2025 Page 4 of 9



    a) the document was served by a method prescribed by the internal law of the State addressed
    for the service of documents in domestic actions upon persons who are within its territory, or
    b) the document was actually delivered to the defendant or to his residence by another method
    provided for by this Convention,
    and that in either of these cases the service or the delivery was effected in sufficient time to
    enable the defendant to defend.
    Each Contracting State shall be free to declare that the judge, notwithstanding the provisions of
    the first paragraph of this Article, may give judgment even if no certificate of service or delivery
    has been received, if all the following conditions are fulfilled –
    a) the document was transmitted by one of the methods provided for in this Convention,
    b) a period of time of not less than six months, considered adequate by the judge in the particular
    case, has elapsed since the date of the transmission of the document,
    c) no certificate of any kind has been received, even though every reasonable effort has been
    made to obtain it through the competent authorities of the State addressed.
    Notwithstanding the provisions of the preceding paragraphs the judge may order, in case of
    urgency, any provisional or protective measures.
                                                    Article 16
    When a writ of summons or an equivalent document had to be transmitted abroad for the purpose
    of service, under the provisions of the present Convention, and a judgment has been entered
    against a defendant who has not appeared, the judge shall have the power to relieve the
    defendant from the effects of the expiration of the time for appeal from the judgment if the
    following conditions are fulfilled –
    a) the defendant, without any fault on his part, did not have knowledge of the document in
    sufficient time to defend, or knowledge of the judgment in sufficient time to appeal, and
    b) the defendant has disclosed a prima facie defence to the action on the merits.
    An application for relief may be filed only within a reasonable time after the defendant has
    knowledge of the judgment.
    Each Contracting State may declare that the application will not be entertained if it is filed after
    the expiration of a time to be stated in the declaration, but which shall in no case be less than one
    year following the date of the judgment.
    This Article shall not apply to judgments concerning status or capacity of persons.
                                     CHAPTER II – EXTRAJUDICIAL DOCUMENTS
                                                    Article 17
    Extrajudicial documents emanating from authorities and judicial officers of a Contracting State
    may be transmitted for the purpose of service in another Contracting State by the methods and
    under the provisions of the present Convention.
                                         CHAPTER III – GENERAL CLAUSES
                                                    Article 18
    Each Contracting State may designate other authorities in addition to the Central Authority and
    shall determine the extent of their competence.
    The applicant shall, however, in all cases, have the right to address a request directly to the
    Central Authority.
    Federal States shall be free to designate more than one Central Authority.
                                                    Article 19
    To the extent that the internal law of a Contracting State permits methods of transmission, other
    than those provided for in the preceding Articles, of documents coming from abroad, for service
    within its territory, the present Convention shall not affect such provisions.
                                                    Article 20
    The present Convention shall not prevent an agreement between any two or more Contracting
    States to dispense with –
    a) the necessity for duplicate copies of transmitted documents as required by the second
    paragraph of Article 3,
    b) the language requirements of the third paragraph of Article 5 and Article 7,
    c) the provisions of the fourth paragraph of Article 5,
    d) the provisions of the second paragraph of Article 12.
                                                    Article 21


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Case 1:25-cv-21165-BB Document 9-2 Entered on FLSD Docket 03/18/2025 Page 5 of 9



    Each contracting State shall, at the time of the deposit of its instrument of ratification or
    accession, or at a later date, inform the Ministry of Foreign Affairs of the Netherlands of the
    following –
    a) the designation of authorities, pursuant to Articles 2 and 18,
    b) the designation of the authority competent to complete the certificate pursuant to Article 6,
    c) the designation of the authority competent to receive documents transmitted by consular
    channels, pursuant to Article 9.
    Each Contracting State shall similarly inform the Ministry, where appropriate, of –
    a) opposition to the use of methods of transmission pursuant to Articles 8 and 10,
    b) declarations pursuant to the second paragraph of Article 15 and the third paragraph of Article
    16,
    c) all modifications of the above designations, oppositions and declarations.
                                                    Article 22
    Where Parties to the present Convention are also Parties to one or both of the Conventions on
    civil procedure signed at The Hague on 17th July 1905, and on 1st March 1954, this Convention
    shall replace as between them Articles 1 to 7 of the earlier Conventions.
                                                    Article 23
    The present Convention shall not affect the application of Article 23 of the Convention on civil
    procedure signed at The Hague on 17th July 1905, or of Article 24 of the Convention on civil
    procedure signed at The Hague on 1st March 1954.
    These Articles shall, however, apply only if methods of communication, identical to those
    provided for in these Conventions, are used.
                                                    Article 24
    Supplementary agreements between Parties to the Conventions of 1905 and 1954 shall be
    considered as equally applicable to the present Convention, unless the Parties have otherwise
    agreed.
                                                    Article 25
    Without prejudice to the provisions of Articles 22 and 24, the present Convention shall not
    derogate from Conventions containing provisions on the matters governed by this Convention to
    which the Contracting States are, or shall become, Parties.
                                                    Article 26
    The present Convention shall be open for signature by the States represented at the Tenth
    Session of the Hague Conference on Private International Law.
    It shall be ratified, and the instruments of ratification shall be deposited with the Ministry of
    Foreign Affairs of the Netherlands.
                                                    Article 27
    The present Convention shall enter into force on the sixtieth day after the deposit of the third
    instrument of ratification referred to in the second paragraph of Article 26.
    The Convention shall enter into force for each signatory State which ratifies subsequently on the
    sixtieth day after the deposit of its instrument of ratification.
                                                    Article 28
    Any State not represented at the Tenth Session of the Hague Conference on Private International
    Law may accede to the present Convention after it has entered into force in accordance with the
    first paragraph of Article 27. The instrument of accession shall be deposited with the Ministry of
    Foreign Affairs of the Netherlands.
    The Convention shall enter into force for such a State in the absence of any objection from a
    State, which has ratified the Convention before such deposit, notified to the Ministry of Foreign
    Affairs of the Netherlands within a period of six months after the date on which the said Ministry
    has notified it of such accession.
    In the absence of any such objection, the Convention shall enter into force for the acceding State
    on the first day of the month following the expiration of the last of the periods referred to in the
    preceding paragraph.
                                                    Article 29
    Any State may, at the time of signature, ratification or accession, declare that the present
    Convention shall extend to all the territories for the international relations of which it is




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Case 1:25-cv-21165-BB Document 9-2 Entered on FLSD Docket 03/18/2025 Page 6 of 9



    responsible, or to one or more of them. Such a declaration shall take effect on the date of entry
    into force of the Convention for the State concerned.
    At any time thereafter, such extensions shall be notified to the Ministry of Foreign Affairs of the
    Netherlands.
    The Convention shall enter into force for the territories mentioned in such an extension on the
    sixtieth day after the notification referred to in the preceding paragraph.
                                                     Article 30
    The present Convention shall remain in force for five years from the date of its entry into force in
    accordance with the first paragraph of Article 27, even for States which have ratified it or acceded
    to it subsequently.
    If there has been no denunciation, it shall be renewed tacitly every five years.
    Any denunciation shall be notified to the Ministry of Foreign Affairs of the Netherlands at least six
    months before the end of the five year period.
    It may be limited to certain of the territories to which the Convention applies.
    The denunciation shall have effect only as regards the State which has notified it. The Convention
    shall remain in force for the other Contracting States.
                                                     Article 31
    The Ministry of Foreign Affairs of the Netherlands shall give notice to the States referred to in
    Article 26, and to the States which have acceded in accordance with Article 28, of the following –
    a) the signatures and ratifications referred to in Article 26;
    b) the date on which the present Convention enters into force in accordance with the first
    paragraph of Article 27;
    c) the accessions referred to in Article 28 and the dates on which they take effect;
    d) the extensions referred to in Article 29 and the dates on which they take effect;
    e) the designations, oppositions and declarations referred to in Article 21;
    f) the denunciations referred to in the third paragraph of Article 30.
    In witness whereof the undersigned, being duly authorised thereto, have signed the present
    Convention.
    Done at The Hague, on the 15th day of November, 1965, in the English and French languages,
    both texts being equally authentic, in a single copy which shall be deposited in the archives of the
    Government of the Netherlands, and of which a certified copy shall be sent, through the
    diplomatic channel, to each of the States represented at the Tenth Session of the Hague
    Conference on Private International Law.




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Case 1:25-cv-21165-BB Document 9-2 Entered on FLSD Docket 03/18/2025 Page 7 of 9




      SIGNATORIES 14: Convention of 15 November 1965
       on the Service Abroad of Judicial and Extrajudicial
           Documents in Civil or Commercial Matters
    Entry into force: 10-II-1969, Last update: 27-I-2011
    Number of Contracting States to this Convention: 62

    1) S = Signature
    2) R/A/Su = Ratification, Accession or Succession
    3) Type = R: Ratification;
    A: Accession;
    A*: Accession giving rise to an acceptance procedure; click on A* for details of acceptances of the
    accession;
    C: Continuation;
    Su: Succession;
    Den: Denunciation;
    4) EIF = Entry into force
    5) Ext = Extensions of application
    6) Auth = Designation of Authorities
    7) Res/D/N = Reservations, declarations or notifications

    Members of the Organisation (click here for the non-Member States)

                States               S1     R/A/Su 2 Type 3      EIF 4   Ext 5 Auth 6          Res/D/N 7
                                           1-XI-               1-VII-
    Albania                                            A                       3
                                           2006                2007
                                                               1-XII-
    Argentina                              2-II-2001   A                       2        D,Res5,10,15,16
                                                               2001
                                           15-III-             1-XI-
    Australia                                          A                 7     5        D5,8,9,10,15,16,17,29
                                           2010                2010
                                           6-VI-               1-II-
    Belarus                                            A                       1
                                           1997                1998
                                  21-I-    19-XI-              18-I-
    Belgium                                            R                       2        D8,15,16
                                  1966     1970                1971
                                           16-VI-              1-II-
    Bosnia and Herzegovina                             A                       1
                                           2008                2009
                                           23-XI-              1-VIII-
    Bulgaria                                           A                       3        D5,8,10,15,16
                                           1999                2000
                                           26-IX-              1-V-
    Canada                                             A                       4        D5,8,10,11,12,15,16,2
                                           1988                1989
                                                               1-I-
    China, People's Republic of            6-V-1991    A                       8        D,N5,8,10,15,16
                                                               1992
                                           28-II-              1-XI-
    Croatia                                            A                       3        Res,D5,6,8,9,10,15,16
                                           2006                2006
                                           26-X-               1-VI-
    Cyprus                                             A                       4        D8,10,15,16
                                           1982                1983
                                                               1-I-
    Czech Republic                         28-I-1993 Su                        4        D,Res8,10,15,29
                                                               1993
    Denmark                       7-I-     2-VIII-     R       1-X-            3        D10,15,16



                                                                                                                7
Case 1:25-cv-21165-BB Document 9-2 Entered on FLSD Docket 03/18/2025 Page 8 of 9




                         1969      1969            1969
                         1-III-    12-XII-         10-II-
    Egypt                                      R                 1   Res8,10
                         1966      1968            1969
                                                   1-X-
    Estonia                        2-II-1996   A                 1   D10,15,16
                                                   1996
                         15-XI-    11-IX-          10-XI-
    Finland                                    R                 2   D2,9,10
                         1965      1969            1969
                         12-I-     3-VII-          1-IX-
    France                                     R             1   3   D8,15,16
                         1967      1972            1972
                         15-XI-    27-IV-          26-VI-
    Germany                                    R                 3   D5,8,10,15,16
                         1965      1979            1979
                         20-VII-   20-VII-         18-IX-
    Greece                                     R                 1   D8,10,15
                         1983      1983            1983
                                   13-VII-         1-IV-
    Hungary                                    A                 3   D2,5,6,8,9,10,15,16
                                   2004            2005
                                   10-XI-          1-VII-
    Iceland                                    A                 1   D,Res10,15,16
                                   2008            2009
                                   23-XI-          1-VIII-
    India                                      A                 1   D,Res10,15,16
                                   2006            2007
                         20-X-     5-IV-           4-VI-
    Ireland                                    R                 3   D,Res10,15
                         1989      1994            1994
                         25-XI-    14-VIII-        13-X-
    Israel                                     R                 2   D,Res10,16
                         1965      1972            1972
                         25-I-     25-XI-          24-I-
    Italy                                      R                 3   D5,12
                         1979      1981            1982
                         12-III-   28-V-           27-VII-
    Japan                                      R                 3   D10,15
                         1970      1970            1970
                                                   1-VIII-
    Korea, Republic of             13-I-2000 A                   2   D,Res8,10,15
                                                   2000
                                   28-III-         1-XI-
    Latvia                                     A                 4   D5,8,10,15
                                   1995            1995
                                   2-VIII-         1-VI-
    Lithuania                                  A                 1   D,Res8,10,15,16
                                   2000            2001
                         27-X-     9-VII-          7-IX-
    Luxembourg                                 R                 1   D,Res5,8,15,16
                         1971      1975            1975
                                   2-XI-           1-VI-
    Mexico                                     A                 1   D5,6,8,10,12,15,16
                                   1999            2000
                                                   1-XI-
    Monaco                         1-III-2007 A                  2   D8,10,15,16
                                                   2007
                         15-XI-    3-XI-           2-I-
    Netherlands                                R             1   5   D15,16
                         1965      1975            1976
                         15-X-     2-VIII-         1-X-
    Norway                                     R                 3   D,Res8,10,15,16
                         1968      1969            1969
                                   13-II-          1-IX-
    Poland                                     A                 4   Res8,10
                                   1996            1996
                         5-VII-    27-XII-         25-II-
    Portugal                                   R                 2   D8,15,16
                         1971      1973            1974
                                   21-VIII-        1-IV-
    Romania                                    A                 2   D8,16
                                   2003            2004
                                                   1-XII-
    Russian Federation             1-V-2001    A                 4   D,Res2,3,5,6,8,9,10,12,15
                                                   2001



                                                                                            8
Case 1:25-cv-21165-BB Document 9-2 Entered on FLSD Docket 03/18/2025 Page 9 of 9




                                            2-VII-               1-II-
    Serbia                                              A                            2       D5,6,8,10,15,16
                                            2010                 2011
                                            15-III-              1-I-
    Slovakia                                            Su                           4       D8,10,15,29
                                            1993                 1993
                                            18-IX-               1-VI-
    Slovenia                                            A                            1
                                            2000                 2001
                                 21-X-      4-VI-                3-VIII-
    Spain                                               R                            3       D15,16
                                 1976       1987                 1987
                                            31-VIII-             1-VI-
    Sri Lanka                                           A                            3       D7,8,10,15
                                            2000                 2001
                                 4-II-      2-VIII-              1-X-
    Sweden                                              R                            2       D5,10
                                 1969       1969                 1969
                                 21-V-      2-XI-                1-I-
    Switzerland                                         R                            3       D,Res1,5,8,10,15
                                 1985       1994                 1995
    The former Yugoslav                     23-XII-              1-IX-
                                                        A                            1       D,Res5,6,8,9,10,15,16,21
    Republic of Macedonia                   2008                 2009
                                 11-VI-     28-II-               28-IV-
    Turkey                                              R                            3       Res,D8,10,15,16
                                 1968       1972                 1972
                                                                 1-XII-
    Ukraine                                 1-II-2001   A                            3       D,Res8,10,15,16
                                                                 2001
    United Kingdom of Great      10-XII-    17-XI-               10-II-
                                                        R                    14      4       D2,5,10,15,16,18
    Britain and Northern Ireland 1965       1967                 1969
                                 15-XI-     24-VIII-             10-II-
    United States of America                            R                    1       1       D2,15,16,29
                                 1965       1967                 1969
                                            29-X-                1-VII-
    Venezuela                                           A                            1       D,Res5,8,10,1516
                                            1993                 1994


     Non-Member States of the Organisation (click here for the Members)

                  States             S1     R/A/Su 2    Type 3      EIF 4         Ext 5 Auth 6         Res/D/N 7
    Antigua and Barbuda                    1-V-1985     Su       1-XI-1981               1
                                           17-VI-
    Bahamas                                             A        1-II-1998               1
                                           1997
    Barbados                               10-II-1969   A        1-X-1969                1
    Belize                                 8-IX-2009    A        1-V-2010
    Botswana                               10-II-1969   A        1-IX-1969               3       D5,10,15
    Kuwait                                 8-V-2002     A        1-XII-2002              3       D,Res6,8,9,10,15,16,18
                                           24-IV-
    Malawi                                              A        1-XII-1972              1
                                           1972
                                                                 1-VIII-
    Pakistan                               7-XII-1988   A                                3       D8,15,16
                                                                 1989
    Saint Vincent and the
                                           6-I-2005     Su       27-X-1979               3       D5,10,15
    Grenadines
                                           15-IV-
    San Marino                                          A        1-XI-2002               3       D8,10,15
                                           2002
                                           18-XI-
    Seychelles                                          A        1-VII-1981              1       D8,10,15,16
                                           1980




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